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                IN THE UNITED STATES DISTRICT COURT

         FOR THE DISTRICT OF MONTANA, BILLING DIVISION

  BRANDY MORRIS and BRENDA                Cause No. 1:21-cv-00076-DWM-TJC
  GRAY, on behalf of themselves and
  all others similarly situated,          Judge: Donald W. Molloy

        Plaintiffs,                       PLAINTIFFS’ REPLY BRIEF IN
                                          SUPPORT OF MOTION TO
               vs.                        REMAND

  FIRST INTERSTATE BANK,

        Defendant.


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       COME NOW the Plaintiffs, by and through their attorneys of record, Edwards

and Culver, and Kaliel Gold, PLLC and pursuant to 28 U.S.C.§1447(c), file

Plaintiffs’ Reply Brief in Support of Motion to Remand.

 I.    INTRODUCTION

       First Interstate bears the burden of establishing by a preponderance of the

evidence that federal jurisdiction pursuant to the Class Action Fairness Act

(“CAFA”) is met. Plaintiffs’ Motion to Remand challenged Defendant’s failure to

“plausibly allege” that the amount in controversy exceeded CAFA’s $5 million

jurisdictional threshold, as the Notice of Removal was unreasonably based solely

upon its attorney’s opinion of damages at issue in cases involving claims made

against unrelated financial institutions. Plaintiffs’ Motion further contended that one

of CAFA’s Home State Controversy exceptions likely applies where approximately

one-third of Defendant’s branches are located in its home state of Montana. In the

alternative, Plaintiffs requested limited jurisdictional discovery regarding the actual

amount of allegedly improper Fees collected during the class period and class

members’ citizenship.

       Defendant now proffers two additional declarations—one from Heather Koo

of Ankura Consulting and the other from Josh Botnen of First Interstate—which,

respectively, attest to potential damages and mailing addresses for current First

Interstate accountholders. In each, however, key facts are unclear or lacking. For


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example, as to the amount in controversy, the Koo Declaration does not disclose the

estimated class size, nor the amount of actionable Fees at issue. Thus, this

“evidence” does nothing to prove that the amount in controversy places this case in

federal court. As to the Botnen Declaration, although there is now more evidence to

support that more than one-third of accountholders may possibly be citizens of

Montana to invoke the Discretionary Home State Exception, proof of address is not

prima facie evidence of citizenship. Such evidence runs afoul of well-established

Ninth Circuit law that holds Defendant “cannot establish removal jurisdiction by

mere speculation and conjecture, with unreasonable assumptions.” Ibarra v.

Manheim Invs., Inc., 775 F.3d 1193, 1197 (9th Cir. 2015). Because Defendant’s

evidentiary proof is insufficient to prove CAFA jurisdiction by a preponderance of

the evidence, remand of the action is required. At a minimum, this Court should

permit the parties to conduct jurisdictional discovery tailored to the amount in

controversy and class member citizenship because “jurisdictional finding[s] of fact

should be based on more than guesswork.” Mondragon v. Capital One Auto Finance,

736 F.3d 880, 884 (9th Cir. 2013).

II.    ARGUMENT

          A. Plaintiffs Properly Challenged Defendant’s Notice of Removal

       At the outset, Defendant argues that “Plaintiffs’ counsel…offers no evidence

to rebut First Interstate’s plausible allegations.” (Dkt. No. 35, “Opp.” at 1.) However,


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Plaintiffs are not required to submit evidence regarding the amount in controversy

where Defendant initially fails to assert a plausible allegation as to the same in its

Notice of Removal (the “Notice”). In its Notice, Defendant merely regurgitates the

varying remedies requested in Plaintiffs’ Prayer and plainly concludes that “their

claims, nationwide classes, and broad request for relief, will undoubtedly exceed

$5,000,000.” (Notice at ¶¶ 15-16.) The Richter Decl. submitted in conjunction with

the Notice references “potential damages that may be at issue in these types of cases”

and concludes that the total claimed damages here will exceed $5 million. (Dkt. No.

4, Richter Decl. at ¶¶ 5-6.) Plaintiff’s Motion to Remand specifically argues that

Defendant has not made the requisite threshold showing that damages exceed $5

million because its argument “is based only on unsupported assumptions” made in

the Richter Decl. (Dkt. 27, “Mot.” at 7)—those assumptions being that claimed

damages in other cases necessarily indicate the damages at issue here. Indeed, the

Richter Decl. attempts to compare counsel’s knowledge of damages claimed in cases

against other financial institutions to the instant action, but unreasonably assumes

that each of those cases involve the same or similar class size, class period, and total

amount of actionable fees collected. These unsupported assumptions do not amount

to a “plausible allegation” that the requisite amount in controversy is met, and where

that is true, Plaintiffs are under no obligation to submit evidence to refute this




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conclusory allegation. Mohammed v. American Airlines, Inc., No. 5:19-cv-01540-

EJD, 2019 WL 5887105, *4 (N.D. Cal. Nov. 12, 2019).

      The Mohammed decision illustrates this point. In Mohammed, the court

granted remand in a wage and hour class action where the defendant’s purported

damages calculation was not based upon the actual number or reasonable estimate

of employees encompassed in the plaintiff’s proposed class and subclasses, nor the

actual number or reasonable estimate of the employees’ hourly wages. 2019 WL

5887105, at *4. The court explained because “CAFA’s requirements are to be tested

by consideration of real evidence and the reality of what is at stake in the litigation…

Defendant’s calculation [which] is not adequately supported by real evidence or

reasonable assumptions based upon that evidence” was insufficient to satisfy its

burden. Id. Just like the Mohammed defendant’s calculations were insufficient

because they were based on vague underlying factual support about class size and

relevant wages, so too is First Interstate’s conclusion unsubstantiated because First

Interstate does not set forth an actual or reasonable estimate of class members and

corresponding relevant Fees upon which to base a damages calculation. And where

these key components are lacking, Plaintiffs are not required to submit proof to rebut

Defendant’s unreasonable assumptions. Id.

      It is for this reason why Defendant’s reliance on Salter v. Quality Carriers,

Inc., 974 F.3d 959 (9th Cir. 2020) is inapposite because unlike First Interstate, the


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removing party in that case satisfied its requisite burden by making “plausible

allegations” based on “reasonable assumptions” that federal jurisdiction is

warranted. See Salter, 974 F.3d at 964 (in wage and hour class action, concluding

the plaintiff failed to challenge the truth of the defendant’s specific factual

allegations that included detailed numeric data based on the defendant’s records,

such as the number of contractors who performed the work at issue and the exact

monetary figures of what the defendant deducted from its truck drivers’ weekly

settlements in fuel purchases). Thus, Plaintiffs’ challenge to First Interstate’s amount

in controversy allegations should be construed as a factual attack, rather than a facial

attack, because Plaintiffs did argue that Defendant’s allegations were unreasonable

and based upon unsupported assumptions made in the Richter Decl. See Mot. at 7.

No more was required of Plaintiffs because First Interstate’s Notice failed to make

any plausible factual allegations and in fact, lacked any factual assertions about how

counsel’s knowledge of damages claimed in these types of cases against other

financial institutions equates to damages over $5 million in this case. See Harris v.

KM Industrial, Inc., 980 F.3d 694, 700 (9th Cir. 2020) (a factual attack need not

require “evidence outside the pleadings,” but rather, “need only challenge the truth

of defendant’s jurisdictional allegations by making a reasoned argument as to why

any assumptions on which they are based are not supported by evidence.”).




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      Similarly, as to the home state controversy exception, Plaintiffs explicitly

challenged the truth of Defendant’s class member citizenship allegations by citing

First Interstate’s website to reasonably conclude that approximately (at least) one-

third of class members are citizens of Montana based on Defendant’s branch

locations. (Mot. at 12.) Thus, Ehrman v. Cox Commc’ns, Inc. is also distinguishable

because the plaintiff there did not factually challenge the defendant’s jurisdictional

allegations. 932 F.3d 1223, 1228 n.1 (9th Cir. 2019) (holding because the plaintiff

did not factually contest the defendant’s jurisdictional allegations in a California

class action that all class members were citizens of California, the defendant did not

need to provide evidence in support thereof, but noting that “had Ehrman challenged

the truth of the jurisdictional allegations in Cox’s notice of removal, the district court

should have permitted jurisdictional discovery[.]”).

          B. Defendant Fails to Establish the Amount in Controversy Exceeds

             $5 Million

      Next, despite the introduction of additional evidence, Defendant still fails to

satisfy its burden that the amount in controversy exceeds $5 million because its

evidentiary support is inadequate. Heather Koo of Ankura Consulting (“Koo Decl.”)

allegedly calculated the potential damages in this case based on an extrapolation of

a sample of the class across the entire class period. (Mot. at 5.) Ms. Koo asserts that

she was provided transactional data for all First Interstate customers from December


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30, 2011 to February 1, 2021, but due to the large volume of data, was only able to

extract a sample of formatted data for one year and calculate APPSN and Retry Fees

for the class during this 1-year period, and then extrapolate that amount across the

entire class period. (Koo Decl. ¶¶ 3-4.) Based on this calculation alone, Ms. Koo

determined that the damages claimed by Plaintiffs in this case “for both Retry Fees

and APPSN Fees likely will be in excess of $5 million.” (Id. ¶ 5.) Critically,

however, in reaching this conclusion several foundational components are unclear.

For example, was First Interstate engaging in the alleged improper conduct as to

their assessment of both types of Fees for the duration of the entire class period?

Was the practice the same or similar during the “sample” period? If not, then an

extrapolation of the damages ascertained from the sample period across the entire

class period would be improper. Further to this point, it is unclear whether the

“volume of data” provided to Ms. Koo encompassed all APPSN and Retry Fees

collected by First Interstate, or rather, was limited to only those collected Fees that

Plaintiffs complain constitute a breach of its contractual promises with

accountholders. Plaintiffs should be able to test the veracity of this conclusion

through limited jurisdictional discovery, which will include written requests aimed

at determining the actionable total amount of collected Fees at issue.

      Moreover, this discovery will provide a sufficient basis upon which to base

the calculation for a potential attorneys’ fee and punitive damages award.


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Defendant’s calculation remains unsupported at this juncture. For instance, the

second Declaration of Stuart Richter generally asserts that based on his experience

handling other class action cases that have alleged the same two theories of improper

APPSN Fees and Retry Fees and the attorneys’ fees expended by class counsel in

those cases, the total attorneys’ fees in this case will be more than $1 million. (Dkt.

No. 35-1, Richter Decl. ¶¶ 2-3.) But this conclusion similarly rests upon unsupported

assumptions, such as the duration of active litigation and the amount of work and

time expended in each case. To illustrate, for each case the Declaration references,

what were the respective class sizes and damages at issue? How long were those

cases in active litigation, at what stage did they resolve, and how much time did

counsel expend before resolution? Simply citing numerous cases that involved

similar overdraft fee claims will not suffice to meet Defendant’s burden of

establishing the amount in controversy. Aguilar v. Wells Fargo Bank, N.A., No. ED

CV 15-01833-AB (SPx), 2015 WL 6755199, at *5 (C.D. Cal. Nov. 4, 2015)

(concluding that a declaration submitted by the defendant’s attorney that cited a

number of employment discrimination cases it contended were similar to the action

to support an emotional distress damages award to establish CAFA’s amount in

controversy requirement was “speculative” and did “not support a conclusion that

Plaintiff will be awarded emotional distress damages in the range that Defendant

identifies.”). Plainly, Defendant provides no baseline amount of damages in this case


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upon which a reasonable attorneys’ fee award can be estimated or compared to the

“similar” cases referenced1. Marshall v. Safeco Ins. Co. of Illinois, 2020 WL

773420, *6 (D. Mont. Feb. 18, 2020) (“Where the defendant’s fee estimate is based

on a conjectural damages calculation, however, it is insufficient to use as a basis for

calculating the amount in controversy.”). At bottom, Defendant has failed to

establish the amount in controversy exceeds CAFA’s threshold, thereby requiring

remand. Alternatively, jurisdictional discovery must be permitted to determine the

amount in controversy.

          C. Defendant’s Evidence Regarding Class Members’ Addresses Does
             Not Resolve the Home State Controversy Inquiry and Further
             Indicates Jurisdictional Discovery is Warranted

      Next, because it is Plaintiffs’ burden to prove that a CAFA exception like the

Home State Controversy applies, Plaintiffs must be permitted to conduct limited


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       As for potential punitive damages award and/or injunctive relief award,
Defendant still fails to meet its burden to demonstrate how these prospective
amounts add to the amount in controversy. Defendant asserts that injunctive relief
“could impact future fee revenue” and punitive damages could potentially result in
a “two-fold” increase, but nevertheless offers no evidence from which it can base
any estimate or concrete figures. See e.g., Marshall, 2020 WL 773420 at *5
(punitive damages may be considered in determining the amount in controversy
where defendant introduces evidence of factually analogous cases where punitive
damages were awarded); Gunaratna v. Country Life, LLC, No. CV 19-7095-GW-
PLAx, 2019 WL 5295741, *3 (C.D. Cal. Oct. 10, 2019), citing Ibarra, 775 F.3d at
1197 (finding defendant’s “scant evidence” to argue that an injunction requiring a
label change of its product would cause it to suffer losses exceeding $5 million
where it produced past sales data but failed to provide concrete numbers showing
how sales were likely to increase and was “too attenuated and speculative” to find
jurisdiction).

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jurisdictional discovery as to this issue. See Brinkley v. Monterey Fin. Servs., 873

F.3d 1118, 1121 (9th Cir. 2017). Defendant submits the Declaration of Josh Botnen,

Senior Vice President, Chief Data and Analytics Officer of First Interstate Bank to

establish that 38.5% of addresses for “current” accountholders are in Montana.

(Botnen Decl. ¶ 2.) This attestation alone is enough to establish that the

Discretionary Home State Controversy Exception may apply, as more than one-third

of putative class members reside in Montana. C.f. Mondragon, 736 F.3d at 885-86

(stating a person’s state of domicile is at least some proof of citizenship and such

presumption may be relied upon by the party seeking remand under a CAFA

exception). In total, however, this data does not paint the full picture of the relevant

class because this percentage does not include accounts that are now closed but were

active during a portion of the class period, nor does it account for the situation where

a customer has moved to Montana but has failed to submit a notice of change of

address to Defendant. (Id. ¶ 3.) Moreover, this data does not indicate how many

accounts did not list an address for whatever reason, such as if that customer elects

to receive statements by e-mail instead. (Id. ¶ 2.) Further, as acknowledged by

Defendant, evidence of address alone is insufficient to establish citizenship. (Mot. at

9.) The only way this can be determined is by allowing Plaintiffs to take limited

jurisdictional discovery of class member citizenship. Indeed, even in the King v.

Great American Chicken Corp., Inc. case that Defendant cites did the Ninth Circuit


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advise the district court upon remand that the plaintiff should be permitted to conduct

jurisdictional discovery as to class member citizenship before renewing her motion

to remand the action to state court 2. 903 F.3d 875, 880-81 (9th Cir. 2018) (“Though

we have concluded that King did not prove by a preponderance of the evidence that

greater than two-thirds of the putative class members were California citizens, it is

clear from the record that King did not have a full opportunity to do so.”) Thus, such

discovery is necessary and should be allowed here.

      Since jurisdictional discovery is routinely permitted in this Circuit to allow a

plaintiff to establish class members’ citizenship to prove up a CAFA exception, this

Court should similarly allow tailored jurisdictional discovery here. See e.g., Adams

v. W. Marine Prod., Inc., 958 F.3d 1216, 1219 (9th Cir. 2020) (affirming remand

after court-ordered jurisdictional discovery in the lower court revealed that the

discretionary home state exception applied); Spargifiore v. Panda Restaurant

Group, Inc., No. 20-cv-09837-AB-MRW, 2021 WL 405815, *1 (C.D. Cal. Feb. 4,


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       The King decision further supports Plaintiffs’ request for jurisdictional
discovery. The Ninth Circuit held that plaintiff failed to meet her burden that more
than two-thirds of the class were California citizens where she only submitted a
stipulation by Defendant that stated, “at least two-thirds (at least 67%) of the
putative class are shown with addresses in California.” King, 903 F.3d at 877. In so
holding, the Court relied in part upon the principle that a person’s “residential
address in California does not guarantee that the person’s legal domicile was in
California” and thereafter ordered the lower court to give the plaintiff an
opportunity to seek additional jurisdictional discovery to gather sufficient evidence
to support a finding by a preponderance of the evidence that greater than two-thirds
were California citizens. Id. at 879.

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2021) (ordering the defendant to produce jurisdictional discovery regarding class

member citizenship because such “information is in the sole possession of

defendant”); Tapia v. Panda Express, LLC, No. CV162323DSFRAOX, 2016 WL

10987316, at *1 (C.D. Cal. June 7, 2016) (ordering the defendant to produce

evidence related to class members’ citizenship so that it could be determined whether

a CAFA exception applied); Calderon v. Total Wealth Management, Inc., 2015 WL

5916846, *3 (S.D. Cal. Oct. 8, 2015) (ordering jurisdictional discovery and stating

it would be “most efficient to allow Plaintiffs to conduct limited and expedient

jurisdictional discovery tailored to the issue of class membership.”); Mondragon v.

Capital One Auto Finance, 736 F.3d 880, 886 (9th Cir. 2013) (allowing the plaintiff

to renew his motion to remand after conducting jurisdictional discovery tailored to

proving that more than two-thirds of putative class members are citizens of

California to invoke a CAFA exception).

      Now that Defendant’s submission has revealed that more than one-third of

current First Interstate accountholders maintain addresses in Montana, the

Discretionary Home State factors the Court applies in determining whether to

decline jurisdiction still weigh in favor of remand to state court—where this case has

already been pending for eighteen months. The alleged harms occurred in

Defendant’s corporate offices in Montana where Defendant designed and

implemented First Interstate’s Fee policies and practices and selected the contractual


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language used in its Account Documents, 28 U.S.C. §§ 1332(d)(3)(A); and there is

no evidence that Plaintiffs artfully plead their claims to avoid federal jurisdiction,

(d)(3)(C). Nevertheless, permitting jurisdictional discovery as to class member

citizenship should resolve some of the remaining factors, as it may confirm the

aggregate number of Montana citizen class members outnumber those from other

states. See e.g., 28 U.S.C. §§ 1332(d)(3)(D)-(E). Thus, any detailed weighing of

these factors should be postponed until after jurisdictional discovery has been

completed.

III.    CONCLUSION

        In light of the foregoing, Plaintiffs respectfully request that the Court enter an

order remanding the action to the Montana Thirteenth Judicial District Court for

Yellowstone County. Alternatively, the Court should permit the parties to conduct

jurisdictional discovery as to both the amount in controversy requirement and

CAFA’s home state controversy exception.

        DATED this 3rd day of September, 2021.

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this Plaintiffs’ Reply Brief in Support of Motion for

Remand is double spaced; the document is proportionately spaced using Times New

Roman font with 14 characters per inch; and contains 3,134 words, excluding this

Certificate of Compliance, and the Certificate of Service.

      DATED this 3rd day of September, 2021.

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